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      NESENOFF & MILTENBERG, LLP
 1    ANDREW T. MILTENBERG, Esq. (admitted pro hac vice)
      amiltenberg@nmllplaw.com
 2    STUART BERNSTEIN, Esq. (admitted pro hack vice)
      sbernstein@nmllplaw.com
 3    TARA J. DAVIS, Esq. (admitted pro hac vice)
      tdavis@nmllplaw.com
 4    363 Seventh Avenue, Fifth Floor
      New York, New York 10001
 5    Telephone: (212) 736-4500
 6    HATHAWAY PARKER
      MARK HATHAWAY, Esq.
 7    mark@hathawayparker.com
      JENNA E. PARKER, Esq.
 8    jenna@hathawayparker.com
      445 S. Figueroa Street, 31st Floor
 9    Los Angeles, California 90071
      Telephone: (213) 529-9000
10
      Attorneys for Matthew Boermeester
11
                                UNITED STATES DISTRICT COURT
12
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13
14
15    MATTHEW BOERMEESTER,                       Case No.: 2:19-cv-02137-R-MRW

16              Plaintiff,                       PLAINTIFF’S MEMORANDUM
      v.                                         OF POINTS AND AUTHORITIES
17                                               IN SUPPORT OF OPPOSITION TO
      UNIVERSITY OF SOUTHERN                     DEFENDANTS’ MOTION TO
18    CALIFORNIA, GRETCHEN                       DISMISS THE COMPLAINT
      DAHLINGER MEANS, individually              PURSUANT TO FRCP 12(b)(6) OR,
19    and in her official capacity, and Dr.      IN THE ALTERNATIVE, TO
      AINSLEY CARRY, individually and            STRIKE THE FOURTH, FIFTH,
20    in his official capacity,                  SIXTH, AND SEVENTH CLAIMS
                                                 FOR RELIEF PURSUANT TO CCP
21                Defendants.                    § 425.16

22                                               DATE: June 17, 2019
                                                 TIME: 10:00 a.m.
23
                                                 JUDGE: Hon. Manuel L. Real
24                                               CTRM: 880
25
26
27
28

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2         I.   STATEMENT OF FACTS. 1
 3              As of January 21, 2017, Plaintiff Matthew Boermeester was a 22-year-old senior
 4    full-scholarship athlete at the University of Southern California (“USC” or “University”).
 5    (Complaint, ¶ 27). Mr. Boermeester had been dating Zoe Katz (“Ms. Katz”)2, also 22
 6    years old and a Senior at USC, for over a year. (Complaint, ¶ 31). Upon returning to Ms.
 7    Katz’s off-campus residence, the two engaged in horseplay and Mr. Boermeester
 8    playfully put a hand on her neck, in a joking, intimate manner, and then entered Ms.
 9    Katz’s building together. (Complaint, ¶ 34). Student Dylan Holt, who had seen part of
10    their interaction through his window, told his roommate Tanner Smith what he thought he
11    had observed—an alleged altercation. (Complaint, ¶¶ 8, 42). Tanner Smith later spoke to
12    his father Peter Smith, Coach of the USC Men’s Tennis team, about what Dylan Holt had
13    told him (Complaint, ¶ 44) and a report was made to USC’s Title IX office.
14              Almost immediately Mr. Boermeester was banned from campus, classes, and all
15    USC activities, including the USC football team, despite both he and Ms. Katz denying
16    that any “intimate partner violence” had occurred. (Complaint, ¶¶ 56, 62, 81.) The week
17    prior to Mr. Boermeester’s anticipated graduation date, on May 2, 2017, the Misconduct
18    Sanctioning Panel met and accepted the investigator’s findings and concluded an
19    expulsion was warranted. (Complaint, ¶ 111). Both Mr. Boermeester and Ms. Katz
20    submitted appeals, challenging the findings and seeking to overturn the sanction.
21    (Complaint, ¶ 116). However, on July 7, 2017, Defendant Dr. Ainsley Carry approved the
22    findings of the Title IX investigator. (Complaint, ¶ 118).
23        II.   PLAINTIFF HAS EXHAUSTED JUDICIAL REMEDIES.
24                A. Plaintiff Exhausted Judicial Remedies by Filing 1094.5 Petition.
25              The doctrine of exhaustion of judicial remedies precludes an action challenging the

26    result of a quasi-judicial proceeding unless a plaintiff first challenges the decision

27
      1
28        Complete facts are in Appellant’s Opening Brief, pp. 17-34. (See PL RJN, Exh. 4.)
      2
          There is no basis to identify Ms. Katz by fictitious name pursuant to FERPA.
          __________________________________________________________________________________________
           PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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 1    through petition for writ of mandamus. (Johnson v. City of Loma Linda (2000) 24 Cal.4th
 2    61, 70.) Mandamus is available to review “any final administrative order or decision
 3    made as the result of a proceeding in which by law a hearing is required to be given,
 4    evidence required to be taken, and discretion in the determination of facts is vested in the
 5    inferior tribunal, corporation, board, or officer…” (Code Civ. Proc. § 1094.5, subd. (a)).
 6          Defendants’ reliance on Doe v. Regents of the University of California (9th Cir.
 7    2018) 891 F.3d 1147 and Gupta v. Stanford Univ. (2004) 124 Cal.App.4th 407 in support
 8    of their proposition that Plaintiff failed to exhaust judicial remedies is misplaced. The
 9    plaintiffs in those matters never sought review of the quasi-judicial proceedings through a
10    mandamus petition. Contrarily, on August 11, 2017, Plaintiff timely filed a Petition for
11    Writ of Mandamus (the “Petition”) in the Superior Court of the State of California for the
12    County of Los Angeles, Central District (Case No. BS170473) pursuant to Code Civ.
13    Proc. § 1094.5, against USC and Dr. Ainsley Carry. (Complaint, ¶ 124; DF RJN, Exh. 1).
14    In his Petition, Plaintiff sought to reverse his expulsion on the grounds that USC failed to
15    grant him a fair hearing, failed to proceed in the manner required by law, and committed
16    a prejudicial abuse of discretion in that the decision was not supported by the evidence.
17    (Complaint, ¶ 125). Plaintiff’s Petition was denied on March 21, 2018 by the Honorable
18    Judge Amy D. Hogue. (Complaint, ¶ 126). Subsequently, on June 14, 2018, Plaintiff
19    voluntarily sought appellate review when he filed a notice of appeal with the Court of
20    Appeal of the State of California, Second Appellate District. On April 19, 2019, Plaintiff
21    filed his Appellant’s Opening Brief. (PL RJN, Exh. 4). The status of Plaintiff’s appeal
22    does not negate his prior compliance with the judicial exhaustion requirement.
23    Nonetheless, while Defendants spend considerable time discussing the effect of the
24    Superior Court’s denial of the Petition, given decisions recently issued by the Court of
25    Appeal in January 2019, discussed further below, there is no question that USC failed to
26    provide proper procedures when it did not afford Plaintiff an opportunity for a live
27    hearing or cross-examination, and denial of the Petition should be reversed on appeal.
28    Accordingly, this matter should be stayed.

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 1          As expressly held by the Ninth Circuit in Doe v. Regents, a student’s suspension
 2    from university is the sort of “adjudicatory, quasi-judicial decision” subject to the judicial
 3    exhaustion requirement; thus, in California, “[a] party must exhaust judicial remedies by
 4    filing a § 1094.5 petition, the exclusive and ‘established process for judicial review’ of an
 5    agency decision.” (Doe v. Regents, 891 F.3d at 1155 (emphasis added).) Nowhere in Doe
 6    v. Regents or Gupta v. Stanford does the court impose a requirement that not only must
 7    the party challenging disciplinary dismissal petition for writ of mandamus and also be
 8    successful on the petition before he is permitted to bring a lawsuit for damages. The only
 9    case cited by Defendants in support of a purported “success” prerequisite is Westlake
10    Community Hospital v. Superior Court, a 1976 case in which the plaintiff physician
11    challenged a hospital’s revocation of staff privileges. Recognizing the contractual
12    relationship between the parties, the Court narrowly held, “whenever a hospital, pursuant
13    to a quasi-judicial proceeding, reaches a decision to deny staff privileges, an aggrieved
14    doctor must first succeed in setting aside the quasi-judicial decision in a mandamus
15    action before he may institute a tort action for damages.” (Westlake Cmty. Hosp. v.
16    Superior Court (1976) 17 Cal.3d 465, 469.) The requirement that one succeed in
17    mandamus prior to initiating a tort action for damages appears to be limited to the very
18    specific scenario in which a physician challenges the denial of hospital privileges.
19          In arguing for the extension of Westlake to the present matter, Defendants
20    misconstrue the purpose and intent of the Court’s holding. The referenced line of case
21    law is generally premised on the fact that the entity which performed the quasi-judicial
22    proceeding at issue is a public or governmental organization. As public entities, they are
23    entitled to certain presumptions about the fairness and inherent reliability of their
24    disciplinary procedures. The medical industry is governed by comprehensive statutory
25    and regulatory schemes, which afford a great deal of transparency in disciplinary matters.
26    This level of transparency simply does not exist in the student conduct context at private
27    and public universities. Thus, when the entity performing the investigation is a private
28    corporation, as in the instant matter, presumptions of fairness and reliability do not apply.

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 1    (See Westlake, 17 Cal.3d at 484 (“quasi-judicial decision reached by a tribunal of a
 2    private association may not be entitled to exactly the same measure of respect as a similar
 3    decision of a duly constituted public agency”).) This distinction is significant in
 4    determining the scope of the mandamus requirement in the student disciplinary context.
 5          Plaintiff brings tort, civil rights, and contractual claims related to his erroneous
 6    discipline from a university, through which he seeks damages and injunctive relief. The
 7    specific circumstances warranting imposition of a requirement that plaintiff brings, and
 8    succeeds on, a writ petition in superior court before pursuing a tort action, are simply not
 9    analogous to the student conduct context at a private university. As the holding in
10    Westlake does not extend to the facts of the instant matter, Plaintiff was not required to
11    succeed on his petition before commencing this action. Therefore, he properly exhausted
12    judicial remedies by timely filing his Petition in Superior Court.
13              B. Relief Sought Through Plaintiff’s Federal Action Is Distinct
14                 from Relief Sought Pursuant To 1094.5 Petition.
            In his Petition, Plaintiff sought reversal of his expulsion. Here, Plaintiff seeks not
15
      only a reversal of his expulsion, but also damages in an amount to be determined at trial,
16
      punitive damages against Defendants Dahlinger Means and Dr. Carry in their individual
17
      capacities, and prospective injunctive relief expunging his disciplinary record, removing
18
      any record of the expulsion from his education file and permanently destroying any
19
      record of the complaint, none of which are available remedies under 1094.5.
20
            Moreover, the inquiry in mandamus is limited to: “whether the respondent has
21
      proceeded without, or in excess of, jurisdiction; whether there was a fair trial; and
22
      whether there was any prejudicial abuse of discretion.” (Code Civ. Proc. § 1094.5.) In the
23
      present matter, Plaintiff challenges not only the ultimate decision reached, but also the
24
      gender biased nature of the proceedings, the University’s violations of its educational
25
      contract with Plaintiff, Defendants’ failure to act with due care in carrying out the
26
      investigative process, Defendants’ failure to ensure confidentiality when issuing national
27
      press releases concerning Plaintiff’s circumstances and fate, and the intentional infliction
28

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 1     on Plaintiff of severe emotional distress given the circumstances. The foregoing
 2     challenges to Defendants’ actions are properly considered before this Court in this federal
 3     action, and are not pending before the Appellate District
 4               C. Alternatively, This Matter Should Be Stayed Pending Court of
 5                  Appeal Decision, As Applicable Statute of Limitations
                    Necessitated Commencement of This Action.
 6
             Plaintiff filed the instant matter on March 21, 2019, as required by the applicable
 7
       statute of limitations. The statute of limitations on Plaintiff’s first, second and third
 8
       causes of action expired no earlier than April 27, 2019, two years from the date of
 9
       issuance of the Summary Administrative Review, necessitating the initiation of this
10
       federal action. Accordingly, Plaintiff respectfully requests that, should this Court
11
       determine that the matter has not yet been judicially exhausted at the state court level,
12
   that this action be stayed until a decision has been reached by the Court of Appeal.
13 III. PLAINTIFF PLAUSIBLY ALLEGES ERRONEOUS OUTCOME AND
14        SELECTIVE ENFORCEMENT UNDER TITLE IX.
              A. Standard of Review.
15
          In deciding a motion to dismiss under Fed. Rule of Civ. Proc. 12(b)(6), this Court
16
   follows the standard of review articulated by Bell Atlantic Corp. v. Twombly (2007) 550
17
   U.S. 544, Ashcroft v. Iqbal (2009) 556 U.S. 662, and their progeny. Specifically: “[t]o
18
   survive a motion to dismiss, a complaint must contain sufficient factual matter ... to ‘state
19
   a claim to relief that is plausible on its face.’” (Iqbal, 556 U.S. at 678, quoting Twombly,
20
   550 U.S. at 570.) “A claim has facial plausibility when the plaintiff pleads factual content
21
   that allows the court to draw the reasonable inference that the defendant is liable for the
22
   misconduct alleged.” (Iqbal, 556 U.S. at 678.) The court must, at this pleading stage, (1)
23
   construe the complaint in the light most favorable to Plaintiff, and (2) accept all well-
24
   pleaded factual allegations as true, as well as all reasonable inferences to be drawn from
25
   them. (See Sprewell v. Golden State Warriors (9th Cir.2001) 266 F.3d 979, 988, amended
26
   on denial of reh'g, 275 F.3d 1187 (9th Cir.2001); Pareto v. F.D.I.C. (9th Cir.1998) 139
27
   F.3d 696, 699.)
28
              B. The McDonnell Douglas Burden-Shifting Framework Applies.
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 1           This Court has explicitly adopted the McDonnell Douglas Corp. v. Green ((1973)
 2     411 U.S. 792) burden shifting framework used in Title VII discrimination cases into Title
 3     IX jurisprudence. As recognized by the court in Doe v. Regents of the University of
 4     California (C.D. Cal. June 8, 2017) 2017 WL 4618591, at *14, rev'd sub nom. on other
 5     grounds Doe v. Regents (9th Cir. 2018) 891 F.3d 1147, “[a]lthough Columbia did not
 6     fundamentally alter the framework established in Yusuf it clarified and refined the
 7     standards a plaintiff must meet to plausibly state a Title IX claim under the requirements
 8     of Iqbal and Twombly. Most significantly, Columbia explicitly adopted the McDonnell
 9     Douglas burden-shifting framework used in Title VII cases into Title IX jurisprudence...”
10           In Doe v. Columbia Univ. (2d Cir. 2016) 831 F.3d 46, the Second Circuit applied
11     by analogy the framework of shifting burdens of proof of discriminatory intent that courts
12     apply in Title VII employment cases, stating “the temporary presumption afforded to
13     plaintiffs in employment discrimination cases under Title VII applies to sex
14     discrimination plaintiffs under Title IX as well. Thus, a complaint under Title IX,
15     alleging that the plaintiff was subjected to discrimination on account of sex in the
16     imposition of university discipline, is sufficient with respect to the element of
17     discriminatory intent, like a complaint under Title VII, if it pleads specific facts that
18     support a minimal plausible inference of such discrimination.” Doe v. Columbia’s
19     adoption of the burden shifting framework under McDonnell Douglas means a “minimal
20     burden” is required at the pleading stage when alleging gender based discriminatory
21     intent. (Doe v. Columbia, 831 F.3d at 54-55.) As “smoking gun” proof of discrimination
22     is rare, circumstantial evidence may satisfy the McDonnell Douglas test. (See Lyons v.
23     England (9th Cir. 2002) 307 F.3d 1092, 1112 (“Absent direct evidence of discrimination,
24     a Title VII plaintiff may prove his case through circumstantial evidence, following the
25     burden-shifting framework established in McDonnell Douglas Corp…”); DeJung v.
26     Superior Court (2008) 169 Cal.App.4th 533, 552.
27           The Ninth Circuit has defined the Title VII employment discrimination framework
28     espoused in McDonnell Douglas Corp. v. Green in this way: “when the plaintiff

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         PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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 1     demonstrates his prima facie case, the burden shifts to the defendant to provide a
 2     legitimate, non-discriminatory reason for the adverse employment action…If the
 3     defendant meets this burden, then the plaintiff “must then raise a triable issue of material
 4     fact as to whether the defendant’s proffered reasons ... are mere pretext for unlawful
 5     discrimination.”” Reynaga v. Roseburg Forest Prod. (9th Cir. 2017) 847 F.3d 678, 691.
 6     A plaintiff may establish pretext “either directly by persuading the court that a
 7     discriminatory reason more likely motivated the employer or indirectly by showing that
 8     the employer’s proffered explanation is unworthy of credence.” (DeJung, 169
 9     Cal.App.4th at 553; Reeves v. Sanderson Plumbing Products, Inc. (2000) 530 U.S. 133,
10     146 (“The factfinder’s disbelief of the reasons put forward by the defendant (particularly
11     if disbelief is accompanied by a suspicion of mendacity) may, together with the elements
12     of the prima facie case, suffice to show intentional discrimination. Thus, rejection of the
13     defendant’s proffered reasons will permit the trier of fact to infer the ultimate fact of
14     intentional discrimination”).)
15           Plaintiff will present a prima facie case that (1) he is male, (2) he was not
16     responsible for the violations for which he was sanctioned, (3) he was found responsible
17     and sanctioned, (4) the outcome of the proceeding was not accurate, and (5) he has some
18     evidence of gender bias. If Plaintiff meets this initial burden, Defendants have the burden
19     of articulating a nondiscriminatory reason for the adverse action (in this case, finding
20     Plaintiff responsible). If USC meets its burden, then Plaintiff has the burden to prove that
21     USC’s reason was a “pretext for discrimination.” In proving that Defendants’ stated
22     reason was a “pretext for discrimination,” and the decision motivated by gender bias
23     against males, Mr. Boermeester will present evidence of external and internal pressures
24     on USC to aggressively discipline males, specific discriminatory statements and
25     presumptions made by decisionmakers about male athletes, and substantial procedural
26     errors that led to an erroneous conclusion contrary to the weight of evidence.
27               C. Erroneous Outcome.
28           To establish a violation of Title IX under an “erroneous outcome” theory, a

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 1     plaintiff must show (i) that there are sufficient facts to cast some articulable doubt on the
 2     accuracy of the outcome of the disciplinary proceeding; and (ii) a particularized causal
 3     connection between the flawed outcome and gender bias. (See Yusuf v. Vassar Coll. (2d
 4     Cir. 1994) 35 F.3d 709, 715.) As set forth below, the Complaint plausibly alleges that
 5     there were significant flaws in the disciplinary proceeding, which cast doubt on the
 6     outcome of the University’s proceeding as a whole, and that the finding of responsibility
 7     and the decision to expel Plaintiff was motivated by gender bias.
 8                 1.    Facts Cast Articulable Doubt on Accuracy of the Outcome.
 9           A plaintiff may cast articulable doubt on the outcome of university sexual
10     misconduct proceedings by, inter alia: pointing to procedural flaws in the adjudication
11     processes; noting inconsistencies or errors in the adjudicator’s oral or written findings; or
12     challenging the overall sufficiency and reliability of evidence. (See Doe v. Marymount
13     Univ. (E.D. Va. Mar. 14, 2018) 297 F.Supp.3d 573, 584; see also Yusuf, 35 F.3d at 715.)
14     A university’s denial of the opportunity for cross-examination before the factfinder in a
15     case where credibility is at stake is also a fact sufficient to cast articulable doubt on the
16     accuracy of the outcome. (Doe v. Baum (6th Cir. 2018) 903 F.3d 575, 585-586.)
17           Plaintiff alleges that the University reached an erroneous outcome when it found
18     him responsible for “Intimate Partner Violence”, because he was in fact innocent of the
19     charges. (Complaint, ¶ 169). The Complaint details how significant procedural flaws in
20     the investigation process led to the incorrect outcome, despite the lack of evidence
21     supporting the finding and the presence of information disputing the charges:
22
          • Ms. Katz repeatedly affirmed to USC that she had not experienced any prohibited
23          conduct. (Complaint, ¶ 47; see also PL RJN, Exh. 5).
24        • USC pursued an investigation against Mr. Boermeester after receiving a third-party
25          complaint from a non-witness mandated reporter, despite the alleged victim
            repeatedly affirming that he did not engage in any misconduct. (Complaint, ¶ 171).
26
27        • USC presumed Mr. Boermeester guilty from the outset when it imposed an interim
            suspension, prior to meeting or speaking with him, and when it removed his tuition
28          scholarship from his financial account. (Complaint, ¶ 171).
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 1
 2       • USC deprived Mr. Boermeester of a meaningful opportunity to be heard when its
           policies did not allow for a hearing before a panel of impartial decisionmakers.
 3         (Complaint, ¶ 171).
 4
         • USC deprived Mr. Boermeester of the opportunity to challenge and question adverse
 5         witnesses despite the Investigators’ reliance on the summaries of various non-party
 6         witness “statements.” (Complaint, ¶ 171).
 7       • USC did not attempt to contact or interview witnesses identified by Mr. Boermeester
           but instead relied on witnesses who had no independent knowledge of the events at
 8
           issue or the parties’ relationship. (Complaint, ¶ 171).
 9
         • USC treated Ms. Katz as a “battered woman” whose repeated denials that Mr.
10         Boermeester had engaged in any wrongdoing were disregarded on the assumption
11         that such denials were a response to the trauma she had endured. (Complaint, ¶ 171).
12       • USC referred to Mr. Boermeester as an “all-star football player” and told Ms. Katz
           that a “Baylor situation” was not going to happen at USC and they (at the Title IX
13
           office) knew “how to deal with football players.” (Complaint, ¶ 171).
14
         • USC imposed an Avoidance of Contact Order that neither party desired, using the
15         discriminatory justification that it needed to keep Ms. Katz “safe” from Mr.
16         Boermeester, and failed to consider lifting it despite the requests from both parties
           and their counsel. (Complaint, ¶ 171).
17
18       • USC failed to document and excluded from evidence the exculpatory evidence of
           Dahlinger Means’ physical examination of Ms. Katz that revealed no sign of any
19         injury. (Complaint, ¶ 171).
20       • USC failed to consider additional exculpatory evidence including the testimony of
21         both Mr. Boermeester and Ms. Katz, security camera footage, the testimony of
           multiple witnesses who reported they never saw any act of violence between the
22
           parties and that they were often physical in a playful way. (Complaint, ¶ 171).
23
         • Defendants included in the Summary Administrative Review inculpatory evidence
24         purportedly provided by Witness L.M., even though the Investigators never actually
25         spoke with L.M. (Complaint, ¶ 171).
26       • USC improperly afforded greater weight to the hearsay testimony of witnesses, who
           had no independent knowledge of the alleged interaction and who were never
27
           interviewed in person, than to the involved parties themselves. (Complaint, ¶ 171).
28
         • USC prevented Mr. Boermeester from presenting a full defense when it refused to
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         PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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 1              withdraw the Avoidance of Contact Order, prohibiting him from speaking with the
                one witness who had first-hand knowledge of the interaction at issue, Ms. Katz.
 2              (Complaint, ¶ 94).
 3              The foregoing demonstrates how an incorrect finding was reached, despite clear
 4     evidence that Mr. Boermeester did not engage in misconduct at any time. Thus, Plaintiff
 5     has satisfied the first element of his Title IX claim and satisfies his initial burden of
 6     production under the McDonnell Douglas framework.
 7                    2.   Gender Bias Was A Motivating Factor.
 8
                There is no specific formulation through which to adequately plead gender bias,
 9
       pre-discovery, in an intentional discrimination case. Instead, gender bias may be proven
10
       inter alia through the statements of members of the disciplinary tribunal, statements by
11
       pertinent university officials, or patterns of decision-making that tend to show the
12
       influence of gender.3 (Yusuf, 35 F.3d at 715; see also Doe v. Miami Univ. (6th Cir. 2017)
13
       882 F.3d 579, 592-93; Doe v. Columbia, 831 F.3d at 57.) Gender bias may also be
14
       inferred where an adjudicator possesses “outdated and discriminatory views of gender
15
       and sexuality.” (Doe v. Marymount, 297 F.Supp.3d at 586.) Moreover, “[w]here the
16
       evidence substantially favors one party’s version of a disputed matter, but an evaluator
17
       forms a conclusion in favor of the other side,” it may be inferred that the evaluator has
18
       been influenced by bias. (Doe v. Columbia, 831 F.3d at 57.)
19
                Contrary to Defendants’ contention, the allegations of the Complaint are far from
20
       speculative. Plaintiff specifically connects the erroneous finding against him to a bias
21
       against males.4 As detailed below, taking the allegations of the Complaint as true, and
22
       drawing all reasonable inferences in Plaintiff’s favor, when considering the totality of the
23
24     3
         Discovery is required to determine whether a university has engaged in a pattern of
25     decision making that tends to show the influence of gender. Universities, including USC,
26     do not publish statistics concerning the outcomes of sexual misconduct proceedings or
       the gender of those students who have been found responsible and sanctioned.
27     4
         Defendants’ attempt to distinguish “Intimate Partner Violence” and “Sexual
28     Misconduct” is unavailing. Both are prohibited conduct and investigated under the same
       USC policy and procedures as all other forms of “sexual misconduct.”
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            PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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 1     circumstances, Plaintiff sufficiently raises a plausible inference that the outcome of his
 2     disciplinary proceeding was motivated by gender bias. (See Doe v. Washington & Lee U.
 3     (W.D. Va. Aug. 5, 2015) 2015 WL 4647996 at *10.)
 4                  a. Evidence of External Pressure on USC, and Dahlinger Means, to
 5                     Address Sexual Assault Allegations is Sufficient to Create Plausible
                       Inference of Gender Bias.
 6
             Courts around the country have recognized that evidence of external pressures on a
 7
       university to aggressively handle sexual misconduct cases is one factor that may
 8
       demonstrate gender biased decision-making. Specifically, evidence that a university has
 9
       been placed under federal investigation, criticized for its failure to protect female sexual
10
       assault victims, or is under pressure to correct its perceived tolerance of the sexual assault
11
       of female students provides a “backdrop that, when combined with other circumstantial
12
       evidence of bias in [plaintiff’s] specific proceeding, gives rise to a plausible claim [of
13
       bias].” (Doe v. Baum, 903 F.3d at 586; see also Neal v. Colo. State University-Pueblo (D.
14
       Colo. Feb. 16, 2017) No. 16-cv-873, 2017 WL 633045, *12 (allegations that university
15
       under OCR pressure to enforce “Dear Colleague Letter” in a gender-skewed manner
16
       sufficient to plead gender bias); Doe v. Miami, 882 F.3d at 592-93 (plausible inference of
17
       gender bias where inter alia university faced pressure to zealously “prosecute” male
18
       respondents after facing lawsuit by female student); Doe v. Columbia, 831 F.3d at 58
19
       (gender bias inferred where university was motivated to accept female accusation of
20
       sexual assault and reject male’s claim of consent to avoid further public criticism that it
21
       did not protect female students).)
22
             In his Complaint, Plaintiff details numerous sources of external pressure imposed
23
       on USC which impacted the finding in his case. First, it is no secret that universities,
24
       including USC, have been under tremendous pressure since the issuance of the 2011 Dear
25
       Colleague Letter to aggressively prosecute males accused of misconduct. (Complaint, ¶
26
       172). As a recipient of approximately $500 million annually in federal funding, USC
27
       acted to ensure compliance with federal guidance, and avoid potential de-funding
28
       penalties. (Complaint, ¶ 172). Second, while Mr. Boermeester’s case was ongoing, USC
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         PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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 1     was under investigation by OCR for complaints related to its alleged mishandling of
 2     sexual misconduct cases. (Complaint, ¶¶ 182-184). The first was filed by the Student
 3     Coalition Against Rape on behalf of students and staff members in May 2013. The
 4     second was filed in March 2016 by an individual with similar allegations. 5 (Complaint,
 5     ¶¶ 183-184). These complaints garnered publicity and media attention and ultimately
 6     resulted in a Voluntary Resolution Agreement on March 12, 2018. (Complaint, ¶ 186).
 7     The Complaint points out that the initiation of the OCR investigations perpetuated an
 8     anti-male atmosphere at USC where male students are treated as perpetrators who must
 9     be disciplined. (Complaint, ¶ 189).
10              Moreover, Dahlinger Means herself has been the subject of considerable criticism,
11     both internally within USC, and from the national media since arriving at USC in January
12     2016. (Complaint, ¶ 140). In a recent Los Angeles Superior Court decision post-dating
13     the Superior Court decision on Mr. Boermeester’s Petition, Judge Elizabeth Allen White
14     ordered USC to vacate its disciplinary findings against a student when she found that
15     statements made by Dahlinger Means demonstrated “an unacceptable probability of
16     actual bias in the manner in which the hearing was conducted” and concluded Dahlinger
17     Means “held an adversarial position in relation to Petitioner, rendering her advisory
18     role…improper.” (Doe v. Ainsley Carry, et al. (June 28, 2018) Case No. BS163736).This
19     finding stemmed from Dahlinger Means’ acknowledgement that she referred to the
20     accused male student and his advisor as “motherfuckers”, questioning “Who do those
21     motherfuckers think they are?” and “Does that college motherfucker know who I am?”
22     while describing the female complainant as “cute” and “a catch”. While Defendants seek
23     to distinguish the findings related to Dahlinger Means’ demonstrated bias from her
24     actions in Mr. Boermeester’s case, Judge White astutely noted the impact such findings
25     would have on future cases brought against USC by similarly situated individuals,
26     declaring “such institutional bias exists, which will confer a benefit upon the class of
27
       5
28       USC is also currently the center of a maelstrom of credible allegations regarding its
       retention of doctors with known, documented histories of sexual abuse of students.
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 1     persons at USC accused of violating USC’s sexual misconduct policy where a Title IX
 2     investigation is conducted.” (Complaint, ¶¶ 141-144). Further actions taken by Dahlinger
 3     Means in this matter, as discussed in detail below, reveal her gender biased approach was
 4     not limited to the Doe v. Ainsley Carry matter. The foregoing examples of the external
 5     pressures placed on USC in general, and on Dahlinger Means in particular during Mr.
 6     Boermeester’s case, is sufficient to raise a plausible inference of gender bias.
 7                     b. Dahlinger Means Demonstrated Bias Against Plaintiff as a Result of
 8                        His Status as a Male Athlete.
                Defendants’ claim that allegations made about football players (as opposed to all
 9
       men in general) do not suggest gender bias is nonsensical and ignores reality—the
10
       majority of football players are male, and indeed all football players at USC are male.
11
       During Ms. Katz’s first coerced meeting with Dahlinger Means and Helsper on January
12
       23, 2017, Dahlinger Means referenced Baylor University’s prior mishandling of sexual
13
       assault allegations against members of its football team, stating something to the effect of
14
       “We know how to handle football players.” 6 (Complaint, ¶ 52). Against the express
15
       wishes of Ms. Katz, USC then opened an investigation into the allegations made by a
16
       third-party, non-witness reporter, against Mr. Boermeester, informed by archaic
17
       stereotypes that male athletes are aggressive, violent and hypermasculine. (Complaint, ¶¶
18
       131-132; PL RJN, Exh. 5). For instance, at the beginning of Mr. Boermeester’s first and
19
       only meeting with USC’s Title IX Office on January 30, 2017, Helsper referred to Mr.
20
       Boermeester as an “all-star football player” and noted his status as such would play no
21
       role in the Title IX process. (Complaint, ¶ 77). Dr. Carry also cited to Mr. Boermeester’s
22
       “high profile” status as a football player, as a factor justifying the expulsion, that the
23
       appellate panel had soundly rejected as grossly disproportionate, in the decision letter
24
25
26     6
        This reference alludes to the report of a former Baylor volleyball player who alleged the
       University mishandled her complaint of having been gang-raped by up to eight Baylor
27     football players in 2012. See http://www.espn.com/college-
28     football/story/_/id/24090683/baylor-university-settles-title-ix-lawsuit-which-gang-rape-
       8-football-players-was-alleged
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            PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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 1     dated July 7, 2017. (Complaint, ¶ 120). The mere fact that his student athlete status was
 2     mentioned both during Mr. Boermeester’s first meeting, and in the expulsion decision,
 3     notwithstanding its irrelevance to either the allegations made or the applicable
 4     procedures, reveals the impact that this athlete status had on the investigation and the
 5     investigators’ handling of the investigation from the outset.
 6           Furthermore, USC chose to make an example of Mr. Boermeester, by
 7     demonstrating publicly USC’s harsh stance against male students, particularly athletes,
 8     accused of misconduct. (Complaint, ¶ 156). Specifically, despite the policies’
 9     confidentiality provisions, on February 7, 2017, the existence of an investigation against
10     Mr. Boermeester was leaked to the national media. USC issued a press release in
11     response, publicly declaring Mr. Boermeester had been removed from the USC football
12     team and had been indefinitely suspended during the investigation. (Complaint, ¶ 97).
13     Similarly, in direct violation of its obligations with respect to Mr. Boermeester’s privacy
14     and confidentiality in the Title IX process, USC publicly announced shortly after Dr.
15     Carry’s July 7, 2017 expulsion decision: “Placekicker Matt Boermeester, whose 18 field
16     goals last year—including a 46-yarder at the gun to win the Rose Bowl—were 1 shy of
17     the school record, won’t return because of a student code of conduct issue.” (Complaint,
18     ¶ 121). The initial public statement was made while two OCR cases were pending against
19     USC and during a national dialogue about campus sexual assault. USC conducted its
20     prosecution of Mr. Boermeester and imposed the harshest sanction possible to
21     demonstrate an exacting stance against males accused of misconduct, alerting the public
22     in a national press release to its ultimate decision five months later. (Complaint, ¶ 121)
23                   c. Dahlinger Means Demonstrated Bias Against Plaintiff by Treating Ms.
                        Katz as a Victim Despite Ms. Katz’s Repeated Denials of Wrongdoing.
24
             Plaintiff further demonstrates the plausibility of his gender bias claims in
25
       articulating how Defendants treated the female student as a battered victim who required
26
       the University’s protection, despite Ms. Katz’s repeated statements that she had not been
27
       subjected to any misconduct, and despite her repeated requests that the investigation not
28
       move forward. (See PL RJN, Exh. 5). From the outset, Mr. Boermeester was treated as a
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 1     perpetrator, while Ms. Katz was mischaracterized as a traumatized “battered woman.”
 2     Utilizing a trauma-informed investigative approach, Dahlinger Means presumed Ms.
 3     Katz to be a victim whose denials of Mr. Boermeester’s wrongdoing were a response to
 4     the trauma she suffered. (Complaint, ¶¶ 73, 136; PL RJN, Exh. 5).
 5           Due to the “dismissive and demeaning manner” in which Ms. Katz was treated, she
 6     retained her own attorney during the investigation to protect her rights. On July 30, 2017,
 7     after USC’s Title IX process had concluded, she issued a public statement concerning the
 8     mistreatment she had endured at the hands of Dahlinger Means and Helsper through their
 9     investigation process. (Complaint, ¶¶ 122-123; PL RJN, Exh. 5).
10           Defendants’ argument that the assertion Ms. Katz was treated poorly somehow
11     undermines Plaintiff’s allegations of gender bias misinterpret Plaintiff’s claim—both
12     Plaintiff and Ms. Katz were subjected to stereotypical gender norms based on archaic
13     presumptions about the roles of men and women in relationships. (Complaint, ¶ 14).
14           Ultimately, Mr. Boermeester was found responsible and expelled because he is a
15     male; as both parties were adamant that Mr. Boermeester never engaged in any conduct
16     violative of USC’s policies, there is no other logical explanation for the ultimate
17     outcome. Given the external and internal pressures on USC to aggressively discipline
18     male students, specific discriminatory statements and presumptions made about male
19     athletes, and the procedural errors made including reaching an erroneous conclusion that
20     was contrary to the weight of evidence, Plaintiff has articulated “some minimal evidence
21     suggesting an inference that [Defendants] acted with discriminatory motivation,” giving
22     rise to a plausible inference that the Defendants’ actions were the result of gender bias.
23     (Doe v. Columbia, 831 F.3d at 54.) Thus, Plaintiff has presented a prima facie showing of
24     a Title IX violation under the McDonnell Douglas Framework.
25
                 D. Selective Enforcement.
26           To demonstrate entitlement to relief on a Title IX Selective Enforcement claim, a
27     plaintiff must establish “that regardless of his guilt or innocence, the severity of
28     punishment was affected by Plaintiff’s gender.” (Doe v. Regents of the Univ. of
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 1     California (C.D. Cal. Dec. 14, 2015) No. 215CV02478SVWJEM, 2015 WL 13755510, at
 2     *4, citing Yusuf, 35 F.3d at 715.) In his Complaint, Plaintiff demonstrates he was treated
 3     more harshly, and disciplined more aggressively than other students because he is a male,
 4     and because he was a prominent athlete. First, USC’s decision to initiate the investigation
 5     against Mr. Boermeester, over Ms. Katz’s objections and repeated denials of wrongdoing,
 6     was affected by his gender. During its investigation, USC intentionally discriminated
 7     against Mr. Boermeester when it imposed an unwarranted interim suspension that was in
 8     effect an expulsion prior to any investigation being performed, presumed him to be
 9     responsible for the alleged misconduct based on archaic stereotypes about males and
10     particularly male athletes, permitted a Title IX Coordinator who had previously
11     demonstrated a bias against males to act as investigator, judge, jury and executioner, and
12     permitted the Title IX Coordinator, a former sex crimes prosecutor, to take an adversarial
13     role against a student USC was obligated to treat fairly. (Complaint, ¶ 199).
14           Further, Plaintiff provides specific allegations, that are far from conclusory, to
15     demonstrate the University imposed a harsher sanction because of his status as a well-
16     known male athlete on campus. Helsper referred to Mr. Boermeester as an “all-star
17     football player” during their first and only meeting on January 30, 2017, Dahlinger
18     Means referenced Baylor University’s prior mishandling of sexual assault allegations
19     against members of its football team, assuring Ms. Katz that “[USC knows] how to
20     handle football players”, USC publicly announced his removal from USC due to a
21     conduct issue which permanently and irreparably damaged his reputation, and when
22     arbitrarily increasing the sanction from a two-year suspension to a permanent expulsion,
23     Dr. Carry cited to Mr. Boermeester’s “high profile” status as a football player, as a factor
24     justifying the sanction, which the appellate panel had rejected as grossly disproportionate.
25     (Complaint, ¶¶ 120, 260). Based on the foregoing, Plaintiff believes that USC possesses
26     additional documentation demonstrating its unlawful pattern of aggressively punishing
27     males, particularly male athletes, in comparison to females. (Complaint, ¶ 190).
28 IV.       DEFENDANTS WERE ENGAGED IN STATE ACTION.

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 1           Defendants argue for dismissal of Plaintiff’s 42 U.S.C. § 1983 claim on the
 2     grounds that courts have generally declined to find state action in the context of a private
 3     university’s student conduct proceedings. However, “[w]hether a private party engaged in
 4     state action is a highly factual question.” (Heineke v. Santa Clara Univ. (N.D. Cal. Dec.
 5     5, 2017) No. 17-CV-05285-LHK, 2017 WL 6026248, at *15.) In his Complaint, Plaintiff
 6     details how the actions of the Defendants in adjudicating Mr. Boermeester’s case
 7     transformed their conduct into state action. Beyond the mere receipt of federal funding,
 8     or the general statements made by Secretary DeVos about the coercive nature of the Dear
 9     Colleague Letter, USC acted in direct response to the federal government’s threat that
10     colleges refusing to comply with the mandates of the DCL would be found in violation of
11     Title IX and subject to de-funding penalties. (Complaint, ¶ 216). In addition, Plaintiff
12     plausibly alleges state action pursuant to the “public function” test, when USC
13     adjudicated an allegation of intimate partner violence, a function that is traditionally
14     governmental in nature and delegated to the State. (Complaint, ¶ 214).
15           Significantly, in arguing for dismissal of Plaintiff’s federal claims on exhaustion
16     grounds, Defendants seek to take advantage of the state statutory procedure requiring
17     Plaintiff to file a writ of mandamus in Superior Court before commencing a federal
18     action. Yet, Defendants seek to avoid “state actor” status pursuant to 42 U.S.C. §1983 in
19     carrying out its internal disciplinary procedures. Defendants cannot have it both ways.
20     Should Defendants seek the benefit of a state court proceeding (to delay or secure
21     dismissal of a plaintiff’s federal clam), it cannot simultaneously deprive Plaintiff of the
22     procedures mandated by the state courts in carrying out its grievance process.
23           Almost a year after the superior court issued its decision on Mr. Boermeester’s
24     Petition, the California Court of Appeal, Second District confirmed the procedures that
25     must be afforded a student facing disciplinary sanctions at a private university when the
26     decision requires a factual determination as to whether the conduct occurred. In Doe v.
27     Allee (2019) 30 Cal.App.5th 1036, the Court found that USC’s disciplinary procedure
28     failed to provide a fair hearing because USC’s procedure failed to provide a mechanism

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 1     for effective cross-examination of the accuser and adverse witnesses before an
 2     independent factfinder. (Complaint, ¶ 241). Similarly, in Doe v. Ainsley Carry, et al.
 3     (Cal. Ct. App. Jan. 8, 2019) No. B282164, 2019 WL 155998, at *1, the Court set aside
 4     the University’s disciplinary finding, concluding USC failed to provide the plaintiff with
 5     a fair disciplinary hearing when no in-person hearing was held, the single investigator
 6     acted as prosecutor and tribunal, and the accused was not provided a right to cross-
 7     examination. (Complaint, ¶ 244). (See also Doe v. University of Southern California
 8     (2018) 29 Cal.App.5th 1212.) Similarly, here, Mr. Boermeester was not provided the
 9     opportunity to present his case at a live hearing before an impartial tribunal, nor to
10     challenge the reliability of witness statements through cross-examination. (Complaint, ¶
11     245). Accordingly, USC failed to provide Mr. Boermeester the requisite level of process
12     dictated by California’s Court of Appeal. Defendants cannot in good faith contend that
13     they were not required to afford Plaintiff the procedural protections outlined by the Court
14     of Appeal, yet seek to benefit from the Superior Court’s decision on Plaintiff’s Petition.
15     In requiring Plaintiff to pursue the state court remedy of a writ of mandamus, and seeking
16     to enforce the Superior Court’s decision on Plaintiff’s Petition, Defendants are
17     transformed into “state actors” who were thus required to provide the requisite level of
18     procedural due process protections in a University student conduct proceedings.
19      V. MOTION TO STRIKE OR DISMISS FOURTH, FIFTH, SIXTH, AND
             SEVENTH CAUSES OF ACTION FOR DAMAGES MUST BE DENIED.
20
             Plaintiff has no substantive quarrel with USC’s recitation of well-established
21
       California law regarding the anti-SLAPP statute. Plaintiff does, however, point out the
22
       potential chilling effects of an overbroad reading of the anti-SLAPP statute:
23
                    An unduly broad reading of the anti-SLAPP statute “would subject
24                  most, if not all, harassment, discrimination, and retaliation cases to
25                  motions to strike. Any employer that initiates an investigation of an
                    employee, whether for lawful or unlawful motives, would be at liberty
26                  to claim that its conduct was protected and thereby shift the burden of
27                  proof to the employee, who, without the benefit of discovery and with
28                  the threat of attorney fees looming, would be obligated to demonstrate
                    the likelihood of prevailing on the merits. Such a result is at odds with
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 1                  the purpose of the anti-SLAPP law, which was designed to ferret out
                    meritless lawsuits intended to quell the free exercise of First
 2                  Amendment rights, not to burden victims of discrimination and
 3                  retaliation with an earlier and heavier burden of proof than other civil
                    litigants and dissuade the exercise of their right to petition for fear of
 4
                    an onerous attorney fee award.” (Nam, supra, 1 Cal.App.5th at p. 1189.)
 5                  Laker v. Bd. of Trustees of California State Univ. (Ct. App. 2019) 244
 6                  Cal.Rptr.3d 238, 257.

 7               A. Defendants Fail to Make a Prima Facie Showing That
                    Plaintiff’s Claims Arise from Protected Activity.
 8
             Plaintiff agrees USC’s Title IX investigation likely qualifies as an “official
 9
       proceeding authorized by law” under the anti-SLAPP statute. Plaintiff takes issue with
10
       Defendants’ bewildering assertion that all activity in connection with a university Title
11
       IX proceeding, including the adjudication itself, is protected activity shielded from
12
       litigation by the anti-SLAPP statute. Such contention vastly overstates the law.
13
             In Kibler v. N. Inyo Cty. Local Hosp. Dist. (2006) 39 Cal.4th 192, for instance, a
14
       hospital’s peer review committee summarily suspended Dr. George Kibler. (Kibler, 39
15
       Cal.4th at 196.) Dr. Kibler sued the hospital, nurses, and physicians for defamation, abuse
16
       of process, and interference with Dr. Kibler’s practice of medicine. (Id.) The defendants
17
       moved to strike the complaint as a SLAPP suit. (Id. at 197.) The issue in Kibler was
18
       whether the hospital’s peer review process was an “‘official proceeding authorized by
19
       law’ within the meaning of section 425.16 and thus subject to a special motion to strike
20
       as a SLAPP suit.” (Id.) The trial court and Court of Appeal agreed, “[A] lawsuit arising
21
       out of a peer review proceeding is subject to a special motion under section 425.16 to
22
       strike the SLAPP suit.” (Id. at 198.) The Kibler Court did not hold that all activity during
23
       the peer review proceedings, nor the peer review proceeding itself, was “protected
24
       activity” within the meaning of the anti-SLAPP statute. In fact, the Kibler Court declined
25
       to evaluate whether the peer review proceedings qualified as “‘conduct in furtherance of
26
       the exercise of the constitutional right of petition or the constitutional right of free speech
27
       in connection with a public issue or an issue of public interest.’” (Id. at 203.)
28
             Likewise, in Laker, a student reported to Dr. Laker that a university department
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 1     chair, Dr. Lewis Aptekar, had sexually and racially harassed her. (Laker, 244 Cal.Rptr.3d
 2     at 247.) Following a finding that Dr. Aptekar had engaged in the alleged conduct, Dr.
 3     Aptekar and other faculty members brought administrative complaints against Dr. Laker,
 4     and investigations ensued. (Id. at 248.) Dr. Laker filed a lawsuit against the university
 5     and its administrators for defamation and retaliation. (Id.) As to the defamation claim, Dr.
 6     Laker alleged he was falsely accused by defendants when they stated that he “knew of
 7     sexual harassment and failed to report it,” and when other university officials called him
 8     a “liar.” (Id.) As to the retaliation claim, Dr. Laker alleged inter alia, that the university
 9     retaliated against him by carrying out groundless investigations. (Id. at 248-249.)
10           The Laker Court found Dr. Laker’s defamation cause of action arose from witness
11     statements made during or in connection with the Title IX investigation and were thus
12     protected by the anti-SLAPP statute. (Id. at 254, 256-258 (“defamation claims necessarily
13     involve speech and are therefore more commonly found to be SLAPPs.”)) In contrast, the
14     Court found the retaliation cause of action arose from “the University’s decision to
15     pursue the investigations—rather than any particular statement made in the course of that
16     investigation—and its decision to ‘red flag’ him.” (Id. at 263.)
17           Defendants fail to satisfy the requisite prima facie showing. Defendants argue
18     Plaintiff’s fourth through seventh causes of action are subject to a special motion to strike
19     pursuant to Code Civ. Proc. § 425.16 because the causes of action arise from acts in
20     furtherance of Defendants’ right of petition or free speech described in Code Civ. Proc. §
21     425.16 subd. (e) subparagraphs (1) and (2). However, Defendants fail to identify any
22     “written or oral statement or writing made before a legislative, executive or judicial
23     proceeding, or any other official proceeding authorized by law,” or “any written or oral
24     statement or writing made in connection with an issue under consideration or review by a
25     legislative, executive, or judicial body, or any other official proceeding authorized by
26     law” at issue in this action potentially qualifying for protection. Defendants’ assertion
27     that USC’s Title IX investigation itself is a protected activity, and therefore all speech
28     and conduct in connection with the Title IX investigation is shielded from litigation is

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 1     contrary to established legal authority: “Failing to distinguish between the challenged
 2     decisions and the speech that leads to them or thereafter expresses them “would chill the
 3     resort to legitimate judicial oversight over potential abuses of legislative and
 4     administrative power.”’” (Laker, 244 Cal.Rptr.3d at 262, quoting Park v. Bd. of Trustees
 5     of California State Univ. (2017) 2 Cal.5th 1057, 1067.)
 6               B. Claims for Relief Do Not Arise from Act in Furtherance of a
 7                  Person’s Right of Petition or Free Speech.
             “The first step of the anti-SLAPP analysis ‘turns on two subsidiary questions: (1)
 8
       What conduct does the challenged cause of action “arise[] from”; and (2) is that conduct
 9
       “protected activity” under the anti-SLAPP statute?’” (Laker, 244 Cal.Rptr.3d at 251.)
10
       “The Supreme Court has clarified that ‘arising from’ means ‘based on.’” (Id.) “[A] claim
11
       may be struck only if the speech or petitioning activity itself is the wrong complained of,
12
       and not just evidence of liability or a step leading to some different act for which liability
13
       is asserted.” (Park, 2 Cal.5th at 1060.) “To determine whether the speech constitutes the
14
       wrong itself or is merely evidence of a wrong, ‘in ruling on an anti-SLAPP motion,
15
       courts should consider the elements of the challenged claim and what actions by the
16
       defendant supply those elements and consequently form the basis for liability.’” (Id. at
17
       254.) The statutory elements of Plaintiff’s fourth through seventh causes of action do not
18
       include any statements or other communicative conduct at all, much less any speech or
19
       petitioning conduct that is protected under Code Civ. Proc. § 425.16 subd. (e). Plaintiff’s
20
       causes of action, therefore, do not arise from protected activities.
21
22                 1.    Plaintiff’s Fourth Cause of Action for Breach of Contract
                         Does Not Arise from Protected Activity.
23
             The elements of a breach of contract claim are “(1) the contract, (2) plaintiff’s
24
       performance or excuse for nonperformance, (3) defendant’s breach, and (4) the resulting
25
       damages to plaintiff.” (Bushell v. JPMorgan Chase Bank, N.A. (2013) 220 Cal.App.4th
26
27
28

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 1     915, 921.) Mr. Boermeester alleges in his fourth cause of action against USC7 that a
 2     contractual relationship existed between him and USC through the act of matriculation
 3     and payment of tuition and fees, and through written documents and policies provided to
 4     students (Complaint, ⁋⁋ 253-260); Mr. Boermeester performed his obligations under the
 5     contract (Complaint, ⁋ 256); USC committed multiple breaches of its agreements with
 6     Mr. Boermeester during the investigation and adjudication process by failing to abide by
 7     university procedures (Complaint, ⁋⁋ 260-263); and Mr. Boermeester sustained damage
 8     as a result of USC’s breaches. (Complaint, ⁋⁋ 264-265).
 9              The cause of action arises from USC’s breaches of contracts, not from statements
10     or protected activity. USC has not exercised any constitutional right of free speech or
11     petition by investigating claims filed by a third-party reporter. As Defendants contend,
12     investigations are mandated by Cal. Educ. Code § 67386. There is no right of free speech,
13     nor communicative conduct whatsoever, that can be the subject of Defendants’ anti-
14     SLAPP argument. Any speech mentioned in the complaint does not form the basis for a
15     breach of contract cause of action and merely provides context and evidentiary support
16     for Plaintiff’s claims. (See Laker, 244 Cal.Rptr.3d at 261 (“‘[a]llegations of protected
17     activity that merely provide context, without supporting a claim for recovery’ are not
18     subject to section 425.16 and ‘cannot be stricken under the anti-SLAPP statute.’”))
19                    2.   Plaintiff’s Fifth Cause of Action for Promissory Estoppel
20                         Does Not Arise from Protected Activity.
                The elements of a promissory estoppel claim are “(1) a promise clear and
21
       unambiguous in its terms; (2) reliance by the party to whom the promise is made; (3)
22
       [the] reliance must be both reasonable and foreseeable; and (4) the party asserting the
23
       estoppel must be injured by his reliance.” (US Ecology, Inc. v. State of California (2005)
24
25
       7
26       “Although the text of section 425.16 does not distinguish between claims arising from
       the protected conduct of individuals from those arising from the protected conduct of
27     governmental entities, we observe that courts appear more likely to find that claims arise
28     out of protected conduct when they are based on the actions of individuals.” (Laker,
       supra, 244 Cal.Rptr.3d at 264, emphasis added.)
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 1     129 Cal.App.4th 887, 901.) Plaintiff alleges in his fifth cause of action against USC that
 2     USC’s policies and offer of admission constitute representations and promises that USC
 3     should have reasonably expected to induce action or forbearance by Mr. Boermeester
 4     (Complaint, ⁋ 267); Mr. Boermeester relied to his detriment on USC’s promises and
 5     representations (Complaint, ⁋ 269); USC expected or should have reasonably and
 6     foreseeably expected Mr. Boermeester to rely on its promises that USC would not
 7     discriminate against him or deny him procedural rights (Complaint, ⁋ 268); and Mr.
 8     Boermeester sustained damages as a result of his reliance. (Complaint, ⁋ 271).
 9           The Complaint does not allege any communicative speech or conduct by USC that
10     qualifies for protection under the anti-SLAPP statute, and Defendants do not contend that
11     it does. The cause of action arises from Plaintiff’s reasonable and foreseeable reliance on
12     promises made to him through its various university policies and USC’s offer of
13     admission, not from statements or protected activity made during or in connection with
14     the Title IX investigation. (See Park, 2 Cal.5th at 1063 (“the mere fact that an action was
15     filed after protected activity took place does not mean the action arose from that activity
16     for the purposes of the anti-SLAPP statute.”))
17                 3.    Plaintiff’s Sixth Cause of Action for Negligence Does Not
18                       Arise from Protected Activity.
             “In order to establish liability on a negligence theory, a plaintiff must prove duty,
19
       breach, causation, and damages.” (Conroy v. Regents of University of California (2009)
20
       45 Cal.4th 1244, 1250.) Plaintiff alleges in his sixth cause of action that a special
21
       university-student relationship existed between him and Defendants, giving rise to “a
22
       duty to conduct the disciplinary process with due care, to perform an investigation free
23
       from bias or conflict, and to ensure proper training to those responsible for investigating
24
       and adjudicating the alleged policy violations” (Complaint, ⁋⁋ 275-277); Defendants
25
       breached their duties by failing to provide the full protections of the disciplinary process
26
       and subjecting Mr. Boermeester to a biased and defective procedure, and USC further
27
       breached the duty by failing to remedy Defendant Dahlinger Means’ known bias
28

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 1     (Complaint, ⁋⁋ 278-279); and Mr. Boermeester suffered injuries as a direct result of
 2     Defendants’ breaches. (Complaint, ⁋ 280). The cause of action arises from Defendants’
 3     breaches of duties in conducting disciplinary proceedings with due care, free of bias.
 4     There is no communicative conduct at the heart of Plaintiff’s sixth cause of action.
 5                 4.    Plaintiff’s Seventh Cause of Action for IIED Does Not
 6                       Arise from Protected Activity.
             “A cause of action for intentional infliction of emotional distress exists when there
 7
       is ‘(1) extreme and outrageous conduct by the defendant with the intention of causing, or
 8
       reckless disregard of the probability of causing, emotional distress; (2) the plaintiff's
 9
       suffering severe or extreme emotional distress; and (3) actual and proximate causation of
10
       the emotional distress by the defendant's outrageous conduct.’” (Hughes v. Pair (2009)
11
       46 Cal.4th 1035, 1050.) Plaintiff alleges in his seventh cause of action that Defendants
12
       exhibited extreme and outrageous conduct by suspending him, removing him from
13
       campus, pursuing an investigation against the wishes of the alleged “victim,” and
14
       conducting a procedurally unfair and one-sided adjudication. (Complaint, ⁋⁋ 283-285).
15
       Mr. Boermeester further alleges that he suffered severe and extreme emotional, and
16
       Defendants’ actions were the actual and proximate cause of his distress. (Complaint, ⁋
17
       286). As in Laker, the cause of action arises not from speech or communicative conduct,
18
       but from Defendants’ decisions to investigate and adjudicate the false allegations. (Laker,
19
       244 Cal.Rptr.3d at 262 (“What gives rise to liability is not that the defendant spoke, but
20
       that the defendant denied the plaintiff a benefit, or subjected the plaintiff to a burden, on
21
       account of a discriminatory or retaliatory consideration.”))
22
23               C. Plaintiff Has Alleged Entitlement to Relief.
24           “If the defendant prevails in [the first] step of the analysis, the trial court must then
25     assess the merits of the plaintiff’s claim. The Supreme Court has described this second
26     step of the SLAPP analysis as a ‘summary-judgment-like procedure.’ The plaintiff carries
27     the burden of demonstrating that its claim has ‘at least “minimal merit.”’” (Laker, 244
28     Cal.Rptr.3d at 261, citations omitted.) As shown, a genuine issue of material fact exists,

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 1     and Defendants have not shown that Plaintiff’s fourth through seventh causes of action
 2     will be unsuccessful, even if all allegations are accepted as true. Defendants argue only
 3     that Mr. Boermeester cannot prevail on his claims because he has failed to exhaust
 4     administrative remedies. As addressed, Plaintiff’s fourth through seventh causes of action
 5     seek damages and do not challenge the result of USC’s flawed administrative process.
 6     Even assuming USC’s contention regarding exhaustion has a scintilla of merit, that is
 7     dispelled by the allegations of the complaint that make it clear that further attempts to
 8     deal with USC would be futile in light of its slanted, results-oriented administrative
 9     process and litigation demeanor in court. (See, e.g., Complaint, ¶¶ 13-16, 48-51, 58, 67-
10     72, 82-84, 92-97, 197, 113.)
11
                 D. USC Offers Zero Basis For Dismissal.
12           As discussed above, USC’s exhaustion argument is fatally flawed and does not
13     form a valid basis for dismissal. USC’s phoned-in motion to dismiss the fourth through
14     seventh causes of action pursuant to Rule 12(b)(6) fails.
15 VI.       CONCLUSION.
16           For the foregoing reasons, Plaintiff respectfully requests that the Court deny
17     Defendants’ motion in its entirety. Additionally, “If the court finds that a special motion
18     to strike is frivolous or is solely intended to cause unnecessary delay, the court shall
19     award costs and reasonable attorney’s fees to a plaintiff prevailing on the motion,
20     pursuant to Section 128.5.” (Code Civ. Proc. § 425.16 subd. (c)(1)).
21           Alternatively, should the Court determine that the matter has not yet been
22     judicially exhausted, Plaintiff requests that this action be stayed until a decision on the
23     appeal of Plaintiff’s Writ of Mandamus has been reached by the Court of Appeal.
24
25     DATED: May 23, 2019                            Respectfully submitted,
26
                                                      By: /S/ Andrew T. Miltenberg .
27                                                    NESENOFF & MILTENBERG LLP
28                                                    Andrew T. Miltenberg, Esq.
                                                      Stuart Bernstein, Esq.
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 1                                                 Tara J. Davis, Esq.
 2                                                 HATHAWAY PARKER
 3                                                 Mark M. Hathaway, Esq.
                                                   Jenna E. Parker, Esq.
 4
 5                                                 Attorneys for Matthew Boermeester
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                                                         CERTIFICATE OF SERVICE
 1
 2     I am a citizen of the United States and employed in the County of Los Angeles, State of California. I am over the age of 18
       and not a party to the within action; my business address is 445 South Figueroa Street, 31st Floor, Los Angeles, CA 90071.
 3
       On May 23, 2019, I certify that I electronically filed and served the foregoing document described as PLAINTIFF’S
 4     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF OPPOSITION TO DEFENDANTS’ MOTION TO
       DISMISS THE COMPLAINT PURSUANT TO FRCP 12(b)(6) OR, IN THE ALTERNATIVE, TO STRIKE THE FOURTH, FIFTH,
 5     SIXTH, AND SEVENTH CLAIMS FOR RELIEF PURSUANT TO CCP § 425.16 with the Clerk of the Court for the United
       States District Court, Central District of California and on all Participants in the case who are registered users of the CM/ ECF
 6     system by transmitting a true copy thereof:
 7
        Julie Arias Young
 8      Karen Pazzani
        Young & Zinn LLP
 9      1150 South Olive Street, Suite 1800
        Los Angeles, CA 90015
10      Telephone: (213) 362-1860
        Facsimile: (213) 362-1861
11      E-mail: jyoung@yzllp.com
        E-mail: kpazzani@yzllp.com
12
        ATTORNEYS FOR DEFENDANTS
13
       ☐      BY FACSIMILE TRANSMISSION from FAX number (213) 529-0783 to the fax number set forth above. The facsimile
14     machine I used complied with Rule 2003(3) and no error was reported by the machine. Pursuant to Rule 2005(i), I caused the
15     machine to print a transmission record of the transmission, a copy of which is attached to this declaration.
       ☐ BY MAIL by placing a true copy thereof enclosed in a sealed envelope addressed as set forth above. I am readily
16     familiar with the firm’s practice of collection and processing correspondence for mailing. Under that practice it would be
       deposited with U.S. postal service on that same day with postage thereon fully prepaid at Los Angeles, California in the
17     ordinary course of business. I am aware that on motion of party served, service is presumed invalid if postal cancellation date
18     or postage meter date is more than one (1) day after date of deposit for mailing in affidavit.
       ☐ BY PERSONAL SERVICE by delivering a copy of the document(s) by hand to the addressee or I caused such
19     envelope to be delivered by messenger or process server.
20     ☐ BY EXPRESS SERVICE by depositing in a box or other facility regularly maintained by the express service carrier or
       delivering to an authorized courier or driver authorized by the express service carrier to receive documents, in an envelope or
21     package designated by the express service carrier with delivery fees paid or provided for, addressed to the person on whom it
       is to be served.
22
       ☒ BY ELECTRONIC TRANSMISSION by transmitting a PDF version of the document(s) by electronic mail to the party(s)
23     identified on the service list using the e-mail address(es) registered with the CM/ ECF system.

24     ☐    I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
25
       ☒    I declare under penalty of perjury under the laws of the United States of America that the above is true and correct.
26
27     Executed on May 23, 2019 in Los Angeles, California _________________________________
                                                                  Yesenia N. Alvarado
28

        __________________________________________________________________________________________
          PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
                                                                       32
